                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                             DOCKET NO. 3:11CR373-FDW-DSC

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
               v.                   )               ORDER FOR EXTENSION OF TIME
                                    )                 TO CONDUCT DISCOVERY
KAMAL ZAKI QAZAH (3),               )                      (BY CONSENT)
NASSER KAMAL ALQUZAH (10),          )
                                    )
                        Defendants. )
___________________________________ )
PETITION OF ALI ALQAZA              )
PETITION OF MAY HASSOUNEH           )
PETITION OF AMER QUZAH              )
___________________________________ )


       THIS MATTER is before the Court on the government’s motion pursuant to Fed. R.

Crim. P. 32.2(c)(1)(B) for an extension of time to conduct discovery in the ancillary forfeiture

proceedings in this case. Petitioners have consented.

       For the reasons stated in the motion, including the potential complexity of financial

interests and ownership issues,

       IT IS THEREFORE ORDERED that the parties shall have 120 days from the date of this

order to conduct further discovery.
                                         Signed: September 8, 2014




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